

Matter of Florentine G. O. v Benoit G. (2021 NY Slip Op 05634)





Matter of Florentine G. O. v Benoit G.


2021 NY Slip Op 05634


Decided on October 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 14, 2021

Before: Gische, J.P., Moulton, González, Kennedy, Scarpulla, JJ. 


Docket No. O-20839/19 Appeal No. 14360 Case No. 2020-03957 

[*1]In the Matter of Florentine G. O., Petitioner-Appellant
vBenoit G., Respondent-Respondent.


Beth E. Goldman, New York Legal Assistance Group, New York (Rachel Lieb of counsel), for appellant.
Larry S. Bachner, New York, for respondent.



Order, Family Court, Bronx County (Ariel D. Chesler, J.), entered on or about July 10, 2020, which granted respondent's motion for summary judgment dismissing the family offense petition based on diplomatic immunity, unanimously affirmed, without costs.
Respondent demonstrated his entitlement to diplomatic immunity under article 31 of the Vienna Convention on Diplomatic Relations (23 UST 3227) (see Matter of Terrence K. [Lydia K.] , 135 AD2d 857 [2d Dept 1987]). The documents submitted by respondent, including a document by an official of the United States Mission to the United Nations certifying certain facts and his diplomatic identification card issued by the United States Department of State, establish that, as First Secretary to the Permanent Mission of the Republic of Congo to the United Nations, he was entitled to both criminal and civil immunity (see  22 USC § 254d; Firemen's Ins. Co. of Washington D.C. v Onwualia , 1994 WL 706994, at *1-3, 1994 US Dist LEXIS 18329, *7-9 [SD NY 1994]). The court providently exercised its discretion in considering the identification card proffered in reply, since it was submitted in response to an argument raised by petitioner, and petitioner was provided with an opportunity to submit sur-reply papers addressing the new submission.
We have reviewed the parties' remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 14, 2021








